Case 2:18:4902382-Dbibbs Raaanentdimdrited 09f29/68/2Bage Dafa Rage ID #51

EF ALE UNITED STATES DISTRICT COURT
S RR CENTRAL DISTRICT OF CALIFORNIA

MINUTES - DETENTION HEARING - REVIEW/RECONSIDERATION OF BAIL / DETENTION ORDER -
NEBBIA HEARING

 

 

 

 

 

 

 

 

 

 

 

  
  
 
 

 

 

Case No. 18-2372M CourtSmart CS 09/19/18 Date: 09/19/2018
Present: The Honorable Alexander F. MacKinnon , U.S. Magistrate Judge
J. Munoz Syivia Ewald N/A
Deputy Clerk Assistant U.S. Attorney Interpreter / Language
USA v. Thomas William Hancock Attorney Present for Defendant:
Jonathan Lynn
Present if Custody (1 Bond (1) Not present Present OCIA MRetd O DFPD (Not present
PROCEEDINGS: DETENTION HEARING ee x FILED ___ LODGED
{i Government's request for detention iss O GRANTED OJ DENIED (WITHDRAWN (€] CONTINUED RECEIVED ___ COPY
Witnesses CST (see separate list). C1 Exhibits Marked/Admitted (see separate list).
(1 Court orders that exhibits be returned to the respective counsel / party of record. SEP a5 204 8
O See Receipt for Release of Exhibits to Counsel. °
Counsel stipulation to bail. TRICT COU
Court finds presumption under 18 USC 3142e has not been rebutted. YpeTRIeT ier eon
Court ORDERS DEFENDANT PERMANENTLY DETAINED, See separate detention order. po t
Court finds presumption under 18 USC 3142e has been rebutted.
Court sets bail at: $ . O SEE ATTACHED COPY OF CR-01 BOND FORM

oooga

 

FOR CONDITIONS OF RELEASE,

 

 

 

( Court orders that defendant be detained for a period not to exceed ten (10) Court days. See separate order re temporary detention.

C Court orders further detention / bail hearing to be set on at Ca.m, /Op.m. in
Courtroom before Judge

© Court orders case continued to at Qa.m., / p.m. for in

 

Courtroom before Judge
O Release Order Issued - Release No.
O” Other:

 

 

 

 

PROCEEDINGS: & REVIEW / RECONSIDERATION OF BAIL / DETENTION ORDER - BOND HEARING
CO) NEBBIA HEARING

Hearing on 1 Plaintiff's 4 Defendant’s request for review / reconsideration of bail / detention order had and request is:
M GRANTED O DENIED
Court ORDERS bail as to the above-named defendant MM modified to 1 set at: $ 50,000.00
MM SEE ATTACHED COPY OF CR-01 BOND FORM FOR CONDITIONS OF RELEASE, |.
Bond previously set is ordered vacated.
Court orders defendant permanently detained. See separate order.
Court denies request for bail, defendant shall remain permanently detained as previously ordered,
Witnesses CST (see separate list). CO Exhibits Marked / Admitted (see separate list).
Court orders that exhibits be returned to the respective counsel / party of record,
DC See Receipt for Release of Exhibits to Counsel.
Case continued to at Oam./C p.m. for
before Judge in Courtroom

{ Nebbia conditions are satistied and the Government approves the bond package as presented to the Court.
™ Other Bond ordered stayed for 5 days until 09/25/2018. Defendant ordered Held to Answer to District of Arizona.

Per AUSA appearance date cannot be given until defendant is released. Bond to transfer if released.

oOooodgd

O

 

Release Order Issued - Release No.

 

Deputy Clerk Initials IMJ

 

M-46 (06/10) MINUTES - DETENTION HEARING ~ REVIEW/RECONSIDERATION OF BAIL/ DETENTION ORDER - NEBBIA HEARING

 
Case 2:18-anis02382-Dvibbs Raaumentd merited 0/49/48/2Bage Dahs 2Rage |D #:52

 

UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

Case Name: United States of America v. Thomas William Ban cock
[m] Defendant

[] Material Witness

Violation of Title and Section: 18 USC 1343, 1957(a)

Case No, 18-2372M

 

 

the only one’of the five numbered boxes below.

  

[-]Summons — [_] Out of District ot Under Seal fol Date: 94 8 pb K

 

 

1, |_| Personal Recopnizance (Signature Only)
2 [] Gnsecured Appearance Bond

 

 

3. roan Bond
$_ ¢0O Dad o—
(a). ¥] Cash Deposit (Amount or %) (Form CR-7)
jana Kemb a/)

(b). M idavit of Surety Without

Justification (Form CR-4) Signed by:
g00~ Ele c

 

 

 

 

 

 

 

 

 

(6). TM Affidavit of Surety With Justification
(Form CR-3) Signed by:

 

 

 

[_] With Full Deeding of Property:

 

 

 

 

Release No.

elease to Pretrial ONLY
Release to Probation ONLY

[_] Forthwith Release

[_] All Conditions of Bond
(Exce, cept Clearing-Warrants
Condition) Must be Met

and Posted by:

 

 

4. [_] Collateral Bond in the Amount of (Cash
or Negotiable Securities):

$

 

5,{_] Corporate Surety Bond in the Amount of:

 

 

Third-Party Custody
O Affidavit (Form CR-31)

Bail Fixed by Court:

[arm] /M

(Judge / Clerk's Initials)

 

 

 

PRECONDITIONS TO RELEASE

[_] The government has requested a Nebbia hearing under 18 U.S.C. § 3142(g)(4).
[-] The Court has ordered a Nebbia hearing under § 3142 (g)(4).

 

[-] The Nebbia hearing is set for

at

Cam. Cl p.m.

 

ADDITIONAL CONDITIONS OF RELEASE

for Sdoys fram todays
date. unt) Bass

In addition to the GENERAL CONDITIONS of RELEASE, the following conditions of release are imposed upon you:

xX Submit to:

[YyAretrial Services Agency (PSA) supervision as directed by PSA; [_] Probation (USPO) supervision as directed by USPO.

(The agency indicated above, PSA or USPO, will be referred to below as "Supervising Agency.")

[YSurrender all passports and travel documents to Supervising Agency no later than

, sign a Declaration

 

re Passport and Other Travel Documents (Form CR-37), and do not apply for a passport or other travel document during the pendency

of this case.

[W/Travel is restricted to

Agency to travel to a specific other location, Court permission is required for international travel.

COCA oH Ari Zoyl af. courT appearances on 2 2 vrior permission is granted by Supervising

Live w/yirl friend

Reside as approved by Supervising Agency and do not relocate without prior permission from Supervising Agency. Olana Remba/)
Maintain or actively seek employment and provide proof to Supervising Agency. jg Employment to be approved by Supervising Agency.

[] Maintain or begin an educational program and provide proof to Supervising Agency.

CR-1 (02/18)

Defendant's Initials:

CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM

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PAGE 1 OF 4

 
Case 2:18:anb02322-DvIOs Rapementdmméited 0940/88/2Bage ahs sRage ID #:53

’ Case Name: United States of America v. Thomas William Hanock Case No. 18-2372M
[m] Defendant [_] Material Witness

 

Avoid all contact, directly or indirectly (including by any electronic means), with any person who is a known victim or
witness in the subject investigation or prosecution, [_] including but not limited to

;[_] except
["] Avoid all contact, directly or indirectly (including by any electronic means), with any known codefendants except in the presence

 

 

 

of counsel. Notwithstanding this provision, you may contact the following codefendants without your counsel present:

 

[_] Do not possess any firearms, ammunition, destructive devices, or other dangerous weapons. [_] In order to determine compliance,
you agree to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.

[_] Do not use or possess any identification, mail matter, access device, or any identification-related material other than in your
own legal or true name without prior permission from Supervising Agency. [_] In order to determine compliance, you agree
to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.

[_] Do not engage in telemarketing.

[_] Do not sell, transfer, or give away any asset valued at $ or more without notifying and obtaining

 

permission from the Court, except

 

[] Do not engage in tax preparation for others.

x Do not use alcohol.

[_] Participate in the electronic remote alcohol monitoring program as directed by Supervising Agency and abide by all the rules and
requirements of the program. You must pay all or part of the costs for treatment based upon your ability to pay as determined by
Supervising Agency.

hao not use or possess illegal drugs or state-authorized marijuana. [ain order to determine compliance, you agree to
submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.

x Do not use for purposes of intoxication any controlled substance analogue as defined by federal law or street, synthetic, or
designer psychoactive substance capable of impairing mental or physical functioning more than minimally, except as
prescribed by a medical doctor.

x1 Submit to: [drug and/or [alcohol testing, If directed to do so, participate in outpatient treatment approved by Supervising Agency.
You must pay all or part of the costs for testing and treatment based upon your ability to pay as determined by Supervising Agency.

[[] Participate in residential [—] drug and/or [_] alcohol treatment as directed by Supervising Agency. You must pay all or part of the costs
of treatment based upon your ability to pay as determined by Supervising Agency. [_]Release to PSA only [_] Release to USPO only

I Submit to a mental health evaluation. If directed to do so, participate in mental health counseling and/or treatment approved by
Supervising Agency. You must pay all or part of the costs based upon your ability to pay as determined by Supervising Agency. nese”

Participate in the Location Monitoring Program and abide by all of the requirements of the program, under the direction of Suyervising
Agency, which TX]}will or [~]will not include a location monitoring bracelet. You must pay all or part of the costs of the program based
upon your ability to pay as determined by Supervising Agency. You must be financially responsible for any lost or damaged equipment.
[_] Location monitoring only - no residential restrictions;

-or-
[_] You are restricted to your residence every day:

[J from Olam. O p.m. to Olam. p.m.
[_] as directed by Supervising Agency;

“or Defendant's rite X nH Date: Xx ‘| 1 ly

CR-1 (02/18) CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM PAGE 2 OF 4

 

 

 
Case 2:18-4j2023 22-PbTaO5 RagMeMndimédiled 09/20/88 /2BAge abe aRage ID #:54

~ Case Name: United States of America v. Thomas William Hanock Case No. 18-2372M
(m] Defendant [_] Material Witness

Bef You are restricted to your residence at all times except for medical needs or treatment, attorney visits, court appearances, and
= eKing andhr aBeneli v , all of which must be preapproved by Supervising Agency;
F] Release to PSA only [_] Release to USPO only
[_] You are placed in the third-party custody (Form CR-31) of
[_] Clear outstanding [_] warrants or[_] DMV and traffic violations and provide proof to Supervising Agency within —_ days

 

of release from custody.

C] Do not possess or have access to, in the home, the workplace, or any other location, any device that offers internet access except
as approved by Supervising Agency. [_] In order to determine compliance, you agree to submit to a search of your person
and/or property by Supervising Agency in conjunction with the U.S. Marshal.

["] Do not associate or have verbal, written, telephonic, electronic, or any other communication with any person who is less than
the age of 18 except in the presence of a parent or legal guardian of the minor.

[J Do not loiter or be found within 100 feet of any schoolyard, park, playground, arcade, or other place primarily used by children
under the age of 18.

[_] Do not be employed by, affiliated with, own, control, or otherwise participate directly or indirectly in the operation of any daycare

- facility, school, or other organization dealing with the care, custody, or control of children under the age of 18.

[_] Do not view or possess child pornography or child erotica. [_] In order to determine compliance, you agree to submit to a search
of your person and/or property, including computer hardware and software, by Supervising Agency in conjunction with the U.S.
Marshal.

[_] Other conditions:

 

 

 

 

 

GENERAL CONDITIONS OF RELEASE

I will appear in person in accordance with any and all directions and orders relating to my appearance in the above entitled matter as
may be given or issued by the Court or any judicial officer thereof, in that Court or before any Magistrate Judge thereof, or in any other
United States District Court to which I may be removed or to which the case may be transferred,

I will abide by any judgment entered in this matter by surrendering myself to serve any sentence imposed and will obey any order or
direction in connection with such judgment as the Court may prescribe.

I will immediately inform my counsel of any change in my contact information, including my residence address and telephone number,
so that I may be reached at all times. ‘

I will not commit a federal, state, or local crime during the period of release.

I will not intimidate any witness, juror, or officer of the court or obstruct the criminal investigation in this case, Additionally, I will not
tamper with, harass, or retaliate against any alleged witness, victim, or informant in this case. I understand that if I do so, I may be

subject to further prosecution under the applicable statutes.

1 will cooperate in the collection of a DNA sample under 42 U.S.C. § 14135a.

Defendant's Initials: x TH paw 4 d S | iY

CR-1 (02/18) CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM PAGE 3 OF 4

 
 , Case 2:18-49023%2-DUIROs5 Ragementdimdrited 09/89/68/2Bage Pathe sage !D #:55

Case Name: United States of America v. Thomas William Hanock Case No. 18-2372M
[m] Defendant ["] Material Witness

ACKNOWLEDGMENT OF DEFENDANT/MATERIAL WITNESS

As a condition of my release on this bond, pursuant to Title 18 of the United States Code, I have read or have had interpreted to me
and understand the general conditions of release, the preconditions, and the additional conditions of release and agree to comply with
all conditions of release imposed on me and to be bound by the provisions of Local Criminal Rule 46-6.

Furthermore, it is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which will
continue in full force and effect until such time as duly exonerated.

I understand that violation of any of the general and/or additional conditions of release of this bond may result in a revocation of
release, an order of detention, and a new prosecution for an additional offense which could result in a term of imprisonment and/or
fine.

I further understand that if I fail to obey and perform any of the general and/or additional conditions of release of this bond, this bond
may be forfeited to the United States of America. If said forfeiture is not set aside, judgment may be summarily entered in this
Court against me and each surety, jointly and severally, for the bond amount, together with interest and costs. Execution of the
judgment may be issued or payment secured as provided by the Federal Rules of Criminal Procedure and other laws of the
United States, and any cash or real or personal property or the collateral previously posted in connection with this bond may be

 

 

forfeited,
[14/208 ee la 0 ~Fo7-S3 0?
Date Signature of Defendant / Material Witness Te elephone Number

Zo Avsele 5 CALL ea

ity and State (DO NOT INCLUDE ZIP CODE)

[_] Check if interpreter is used: I have interpreted into the language this entire form

and have been told by the defendant that he or she understands all of it.

 

 

 

 

 

 

 

Interpreter's Signature Date
Approved:

United States District Judge / Magistrate Judge Date
If cash deposited: Receipt # for $

(This bond may require surety agreements and affidavits pursuant to Local Criminal Rule 46.)

_ Defendant's Initials: TH nae 4 2 5] Ir

CR-1 (02/18) CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND'FORM / PAGE 4 OF 4

 
